
USCA1 Opinion

	










                            United States Court of Appeals
                                For the First Circuit
                                 ____________________
        No. 95-1997
                       PETER M. SCHULTZ AND PAMELA A. SCHULTZ,

                               Plaintiffs, Appellants,

                                          v.

                             RHODE ISLAND HOSPITAL TRUST
                             NATIONAL BANK, N.A., ET AL.,

                                Defendants, Appellees.
                                 ____________________

        No. 95-2113
                             BOWDOIN CONSTRUCTION CORP.,

                                Plaintiff, Appellant,

                                          v.

                             RHODE ISLAND HOSPITAL TRUST
                             NATIONAL BANK, N.A., ET AL.,

                                Defendants, Appellees.
                                 ____________________

        No. 95-2172
                          ALLENBY ENTERPRISES, INC., ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                             RHODE ISLAND HOSPITAL TRUST
                             NATIONAL BANK, N.A., ET AL.,

                                Defendants, Appellees.
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________
                     [Hon. Robert E. Keeton, U.S. District Judge]
                                             ___________________
                      [Hon. Patti B. Saris, U.S. District Judge]
                                            ___________________


















                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                              and Lynch, Circuit Judge.
                                         _____________

                                 ____________________



            Edwin  A. McCabe,  with whom  McCabe Brown  Sutherland, Joseph  P.
            ________________              ________________________  __________
        Davis III, and  Lane, Altman &amp;  Owens were on  brief, for  plaintiffs-
        _________       _____________________
        appellants.

            Joseph  L.  Kociubes,  with  whom  Peter  Alley,  Denise Jefferson
            ____________________               ____________   ________________
        Casper, and Bingham,  Dana &amp;  Gould were  on brief,  for Rhode  Island
        ______      _______________________
        Hospital Trust National Bank.

            Allen N.  David, Elizabeth  Z. Holmes,  and Peabody  &amp; Arnold,  on
            _______________  ____________________       _________________
        brief for Federal Deposit Insurance Corp. as receiver of Coolidge Bank
        and Trust Co.

            Robert D. Cultice, Louis J. Scerra, Jr., and Goldstein &amp;  Manello,
            _________________  ____________________      _____________________
        P.C., on brief for Chrysler First Business Credit Corp.
        ____




                                 ____________________

                                   August 22, 1996
                                 ____________________

































                  LYNCH,   Circuit   Judge.      These   three   actions,
                           _______________

            consolidated for  appeal, arise out  of a failed  real estate

            venture involving the  purchase and redevelopment of  the Sea

            Crest Hotel in Falmouth, Massachusetts ("the Sea Crest").  In

            a federally  registered public offering,  investors purchased

            condominium unit deeds  and "pooled income" interests  in the

            Sea  Crest  project.    One of  the  offering's  features, as

            disclosed in the prospectus,  was that the offering would  be

            terminated  and  all   investor  deposits  refunded  if   the

            aggregate  amount of investments sold did not reach a minimum

            subscription level  ("MSL") by  a set  deadline.   Plaintiffs

            asserted that  Rhode  Island  Hospital  Trust  National  Bank

            ("RIHT"), the lender that  financed the developer's  purchase

            of the Hotel  and served as the escrow  agent responsible for

            holding investor deposits, was liable to them for purportedly

            failing to determine that the MSL requirement had not in fact

            been satisfied  by the requisite  date.  The  district courts

            concluded, as a  matter of law,  that the plaintiffs'  claims

            against RIHT  for fraud, negligent  misrepresentation, breach

            of contract, and  violations of the Racketeer  Influenced and

            Corrupt  Organizations Act  ("RICO"),  18  U.S.C.    1961  et
                                                                       __

            seq.,  were all  deficient.   We agree  that plaintiffs  have
            ____

            established no legal basis for holding RIHT liable  for their

            losses.  Accordingly, we affirm.





                                         -3-
                                          3















                                          I.

                                  Factual Background
                                  __________________

                  In the  mid-1980's, Eugene Marchand developed a plan to

            purchase and  renovate the  Sea Crest  Resort and  Conference

            Center, a large beach resort on Cape Cod.  Marchand sought to

            revitalize  the hotel as a convention-oriented facility.  The

            plan  involved converting the  Sea Crest into  a condominium,

            and  then   selling  the  individual  condominium   units  to

            investors, together with interests  in the pool of  income to

            be generated  from the  resort.    The condominium  units and

            these "pooled income" interests were to be sold as registered

            securities  in  a  public  offering.    The  issuer  of   the

            securities would  be Marchand's development  company, Laurel-

            Sea  Crest Realty Sales  Corp. ("Laurel"), of  which Marchand

            was  the  sole shareholder.    Laurel's purchase  of  the Sea

            Crest, for $19.4 million, would be financed  through sales to

            investors and a bank loan from RIHT.  With projected expenses

            of $40.5 million and  total expected gross proceeds  from the

            offering projected at $45 million, Laurel stood to make a net

            profit of $4.5 million.

                  On  September 12,  1986,  Laurel filed  a  registration

            statement  and  prospectus  with   the  SEC,  describing  the

            proposed  offering of 266 "condominium hotel interests."  The

            prospectus stated that the offering would be conditioned upon

            a minimum level of investor participation:



                                         -4-
                                          4















                  Unless 60  Hotel Interests are subscribed  for by
                  qualified   investors   ("Minimum    Subscription
                  Level") within 60 days  of the effective date  of
                  the   Registration   Statement  of   which   this
                  Prospectus  is a part, but in no event later than
                  December   31,  1986,   this  offering   will  be
                  withdrawn  and   all  funds   will  be   returned
                  promptly to subscribers.

            The  prospectus  also  stated that  every  investor  would be

            required to "pay a down payment of 10% of the purchase  price

            of the Hotel Interest (the 'Escrow Deposit')," which would be

            "deposited . . . in a segregated, federally insured, interest

            bearing  account . . .  at the  Rhode  Island Hospital  Trust

            National  Bank . . . on behalf  of Investor."  The prospectus

            named RIHT as escrow agent for the offering.

                  As Laurel waited for  the registration statement to  be

            declared effective by  the SEC, it  secured the financing  it

            needed to purchase the Sea Crest.  On November 14, 1986, RIHT

            issued a  commitment letter  to Laurel  approving a  fourteen

            million dollar first mortgage construction loan to be used by

            Laurel  in acquiring and  renovating the Sea  Crest facility.

            RIHT's commitment,  like the  offering, was  conditioned upon

            the  "presale" of  a minimum  number of  Sea  Crest interests

            prior  to December 29,  1986, the  expiration date  of RIHT's

            commitment letter.1

                                
            ____________________

            1.  RIHT's presale  requirement was, in fact,  more stringent
            than  the MSL requirement.   The commitment  letter specified
            that "[p]rior to closing, a minimum of 80 units must be under
            written agreement  of purchase-sale with a 10% non-refundable
            deposits [sic]," and that those 80 units must account for "no
            less than $13.6 million" in gross proceeds.

                                         -5-
                                          5















                  As of the date  that RIHT issued its  commitment letter

            to  Laurel, however,  the  SEC had  yet  to approve  Laurel's

            registration statement.  In fact, the  registration statement

            was  not declared  effective by  the SEC  until December  12,

            1986, leaving just two and a half weeks for Laurel to achieve

            the  MSL set  in the  prospectus  and the  minimum number  of

            presales required by  RIHT.  It was clear  that Laurel needed

            more  time.   Laurel sought  to restructure the  offering and

            obtain  a  new commitment  agreement  from RIHT,  with  a new

            timetable  for meeting the minimum presale requirement.  RIHT

            agreed to renegotiate.

                  As  Laurel  and RIHT  neared  agreement on  a  new loan

            commitment,  Laurel filed, on March 2, 1987, a post-effective

            amendment  to  its  original  registration  statement.    The

            amendment  established a new deadline  for Laurel to meet the

            MSL requirement.   It  also restructured  the requirement  to

            condition   the  offering  on  a  minimum  dollar  amount  of

            aggregate sales, rather than a minimum  number of unit sales.

            The amended prospectus explained:

                  Unless   Hotel   Interests   of   $6,000,000   in
                  aggregate purchase  price are  subscribed for  by
                  qualified   investors   ("Minimum    Subscription
                  Level")  within 120 days of the effective date[2]
                  of  the  Registration  Statement  of  which  this
                  Prospectus  is  a  part,  this  offering  will be


                                
            ____________________

            2.  The 120th day after December 12, 1986, the effective date
            of  the registration  statement  fell on  April  11, 1987,  a
            Saturday.

                                         -6-
                                          6















                  withdrawn  and   all  funds   will  be   returned
                  promptly to subscribers.

            The   amended   prospectus   left  unchanged   the   original

            prospectus's  representation  that  each  investor  would  be

            required to tender a down payment equal to ten percent of the

            selling price  of the  unit to be  purchased, which  would be

            deposited in an escrow account held by RIHT.

                  RIHT  issued a new commitment letter to Laurel on March

            30,  1987.  This  time, RIHT  agreed to  give Laurel  an 18.3

            million dollar loan, conditioned upon the presale of  only 40

            units  with a minimum aggregate  selling price of $6 million,

            each presale  requiring a ten percent  nonrefundable investor

            deposit.   Laurel was  required to  satisfy  the new  40-unit

            presale  condition  by  no later  than  April  10, 1987,  the

            expiration date of the new commitment letter.

                  Apart  from RIHT's  lending  relationship with  Laurel,

            the bank's only role in the Sea  Crest offering was to act as

            escrow agent.  RIHT did  not sign the registration statement.

            Nor did  it  participate  in  promoting the  offering  or  in

            selling or soliciting subscriptions.  RIHT's duties as escrow

            agent were  to  be governed  by  a written  escrow  agreement

            between Laurel and  RIHT, addressed to the investor.   A copy

            of  the  agreement,   annexed  as  an  exhibit   to  Laurel's

            registration   statement,  was   to  be   provided   to  each

            subscribing investor.   As will  be discussed, there  is some

            dispute as to the particular form of agreement by whose terms


                                         -7-
                                          7















            RIHT  agreed to be  bound.  It  is clear, however,  that RIHT

            assumed at most a duty  to hold investors' deposits in escrow

            until  "[Laurel]  shall   verify  to  the  Bank   that  . . .

            $6,000,000 in  aggregate purchase price  for Hotel  Interests

            have  been subscribed for and received  as required under the

            Registration Statement . . . ."

                  As the offering proceeded,  Laurel, through its selling

            agent  (Broad Reach  Capital),  collected  purchase and  sale

            agreements for individual Sea Crest  condominium units ("unit

            sale   agreements").     Notwithstanding   the   prospectus's

            representations  that investors would be required to tender a

            ten percent non-refundable "escrow  deposit" upon subscribing

            to  the offering,  Laurel and  Broad  Reach Capital  accepted

            promissory notes for ten percent  of the purchase price -- in
            ________________

            lieu of  cash deposits --  from almost half of  the investors

            who  signed unit sale  agreements prior to  the MSL deadline.

            Such  cash deposits  as were  tendered by the  investors were

            placed in an escrow account at RIHT.  But as the deadline for

            meeting the MSL approached, only a total of some $309,000 had

            been deposited into the RIHT escrow account.

                  RIHT and Laurel conducted  their loan closing on  April

            9,  1987, just  prior to  the  expiration date  of the  March

            commitment letter.   At the  closing, RIHT was  provided with

            copies of the  unit sale agreements  that had been  executed.

            An officer of the bank  counted the sale agreements to verify



                                         -8-
                                          8















            that there had been  at least 40  units sold (as required  in

            RIHT's  loan  commitment letter)  and  tallied  the aggregate

            amount of  sales to  verify that the  six million  dollar MSL

            requirement had been  met (as set forth in  the agreement and

            the prospectus).  No one  at RIHT undertook to verify whether

            there  was a  ten percent  deposit  in escrow  for each  unit

            subscription.    Having  satisfied itself  that  at  least 40

            subscriptions  and $6  million in  aggregate  sales had  been

            achieved, RIHT proceeded  to close its  loan with Laurel  and

            thereafter released the escrowed investor deposits to Laurel.

            Laurel purchased the  Sea Crest and separately  closed on its

            sales of individual condominium units to investors.

                  In May  1987, Laurel hired  Bowdoin Construction  Corp.

            ("Bowdoin")  to serve  as  the  general  contractor  for  the

            renovation  of the Sea Crest.  Pursuant to a letter of intent

            from Laurel, Bowdoin began construction work and arranged the

            necessary subcontracts.   Based  on a  decision by  Marchand,

            Bowdoin  continued its  construction  work through  the  1987

            summer season, causing  a fall-off in revenues to  the resort

            and putting a wrinkle into Laurel's ongoing sales efforts.

                  By  late  September  1987,   Laurel  was  under  severe

            financial strain.  It had stopped making payments to Bowdoin,

            even  though Bowdoin continued  construction.  On  October 1,

            RIHT downgraded the credit status of its loan to Laurel.  The

            stock  market crash later  that month only  worsened matters,



                                         -9-
                                          9















            and  in November  1987, Laurel  defaulted  on the  RIHT loan.

            Laurel and RIHT  discussed restructuring  or refinancing  the

            loan.  Bowdoin inquired about the status of Laurel's funding.

            After allegedly being  assured that it would  be paid through

            new financing from RIHT, Bowdoin continued with construction.

            In the  meantime, restructuring  negotiations between  Laurel

            and RIHT had ended unsuccessfully.

                  By   January   1988,   when   Bowdoin   finally  ceased

            construction, it had  incurred unreimbursed expenses of  over

            $1 million.  A month later, Laurel filed a Form 8-K  with the

            SEC  disclosing  that   the  Sea  Crest  offering   would  be

            indefinitely  suspended,  with  only  58  of  the  total  266

            condominium units having been sold.  Soon afterward, a number

            of lawsuits were filed.   In April 1988, RIHT sued Laurel  to

            collect on its loan.   In July 1988, Bowdoin  filed an action

            for breach of contract and  enforcement of a mechanic's  lien

            in state  court, but  then voluntarily  dismissed the  action

            based, allegedly,  on Laurel's representation  that doing  so

            was Bowdoin's  best chance  of recovering any  of its  unpaid

            debts.3  Ultimately, Bowdoin collected only a fraction of the

            amount owed to it by Laurel.   Laurel, RIHT, and others  were




                                
            ____________________

            3.  After  Bowdoin  dropped  the  state   court  lawsuit  and
            discharged the lien, RIHT sold  its interest in the Sea Crest
            loan, at a  $5.7 million loss, to  Coolidge Bank (who  had to
            that point owned a participation interest in the loan).

                                         -10-
                                          10















            named in  suits filed  by investors, as  well as  in a  newly

            instigated action by Bowdoin.

                                         II.

                                Procedural Background
                                _____________________

            A.  District Court Proceedings
            __  __________________________

                  Three  separate  cases   have  been  consolidated   for

            purposes of this appeal.   Two of the cases, Schultz  v. RIHT
                                                         _______     ____

            and  Allenby  Enterprises,  Inc.  v.  RIHT,  are  brought  by
                 ___________________________      ____

            investors  in  the  Sea Crest  offering.4    The third  case,

            Bowdoin Constr.  Corp. v. RIHT,  is brought by Bowdoin.   The
            ______________________    ____

            Schultz  and  Allenby  plaintiffs  asserted  claims   against
            _______       _______

            Laurel, RIHT and several others for alleged violations of the

            federal securities  laws and civil  RICO, and for  common law

            fraud, negligent  misrepresentation, breach of  contract, and

            breach of the covenant  of good faith and fair  dealing.  The

            Bowdoin complaint asserted  claims against Laurel, RIHT,  and
            _______

            others for  violations of civil RICO, breach of contract, and

            breach of the covenant of good faith and fair dealing.

                  In  October  1993,   before  the  Schultz   action  was
                                                    _______

            scheduled to go to trial, the plaintiffs in all three actions


                                
            ____________________

            4.  The plaintiffs in the Schultz action purchased a total of
                                      _______
            five  condominium  units in  April  1987  (prior to  the  MSL
            deadline), at an aggregate purchase price of approximately $1
            million.   There  are  38 plaintiffs  in the  Allenby action.
                                                          _______
            Collectively,  they  purchased  33  condominium units  at  an
            aggregate purchase price  of some $5 million.   Approximately
            $1.5 million of  the Allenby plaintiffs' purchases  were made
                                 _______
            after the MSL deadline (April 10, 1987) had passed.
            _____

                                         -11-
                                          11















            reached  a settlement  agreement with  Laurel, Marchand,  and

            certain other affiliated  parties, and  dismissed all  claims

            against  them, with prejudice.   In exchange,  the plaintiffs

            received a promise from the  settling defendants to waive the

            attorney-client privilege and to provide interviews and trial

            testimony  as requested by the  plaintiffs.  No money changed

            hands.

                  The Schultz  action proceeded to trial against RIHT and
                      _______

            the  other  remaining  defendant (a  bank  that  had provided

            financing to some  of the investors) in January  1994, before

            Chief Judge Tauro.   The plaintiffs presented  twelve days of

            testimony,  including the testimony  of Eugene Marchand.   At

            the end  of the  plaintiffs' case,  the defendants  moved for

            judgment as a matter of law.  In  its memorandum of decision,

            the  district  court  concluded that  Central  Bank  v. First
                                                  _____________     _____

            Interstate  Bank, 511 U.S. 164 (1994), required the dismissal
            ________________

            of  the plaintiffs' claims for aiding and abetting securities

            fraud under Section 10(b)  of the Securities Exchange  Act of

            1934.   The  court also  concluded  that the  plaintiffs  had

            failed to  present adequate evidence  on any of  their common

            law claims  or their RICO  claim, and granted the  motion for

            judgment as a matter of law.

                  Thereafter,  Judges Keeton  and  Saris granted  summary

            judgment motions  filed by  RIHT in  the Allenby and  Bowdoin
                                                     _______      _______

            actions, respectively.  In deciding the Allenby motion, Judge
                                                    _______



                                         -12-
                                          12















            Keeton, discerning no material  difference between the issues

            in  Allenby  and Schultz,  followed  Judge  Tauro's decision,
                _______      _______

            based both on an independent assessment of the  case and as a

            matter of stare decisis.   In Bowdoin, in which the plaintiff
                      _____________       _______

            asserted  RICO  violations  predicated  upon  allegations  of

            aiding  and abetting  securities fraud,  Judge  Saris entered

            summary judgment in  favor of RIHT, on the  dual grounds that

            such a claim could not be viable after Central Bank, and that
                                                   ____________

            plaintiffs had,  in any  event, failed  to adduce  sufficient

            evidence of a "pattern" of racketeering activity.

            B.  Posture on Appeal
            __  _________________

                  The  parties informed us at oral argument that the only

            remaining defendant in all three of these cases, at least for

            purposes  of this  appeal, is  RIHT.5   We limit  our review,

            therefore, to those  claims seeking to hold  RIHT responsible

            for the plaintiffs' alleged injuries.  

                  In  each of  the three  cases,  we review  de novo  the
                                                             _______

            district  court's  entry  of judgment  as  a  matter of  law.

            Because the appeals largely raise the same dispositive issues

            (albeit on somewhat different  records), we distinguish  them

            only as necessary.  We look to whether, viewing the record in

            each case in the light  most favorable to the plaintiffs, any

                                
            ____________________

            5.  Plaintiffs'  counsel   stated  at  oral   argument  that,
            although  one  other  party nominally  remains  in  the case,
            plaintiffs would  be content  to have  this court's  decision
            turn solely upon a determination  of the merits of the claims
            against RIHT.

                                         -13-
                                          13















            reasonable jury  could find  in the plaintiffs'  favor.   See
                                                                      ___

            Fed.  R. Civ.  P.  50(a)  (Schultz); Fed.  R.  Civ. P.  56(c)
                                       _______

            (Allenby; Bowdoin).   Having assessed the  merits of each  of
             _______  _______

            the  plaintiffs' theories of liability under this standard of

            review, we now affirm.6

                                         III.

                                  Breach of Contract
                                  __________________

                    RIHT's   only   relationship    with   the   investor

            plaintiffs arose  out of the  bank's role as escrow  agent in

            the Sea Crest  offering.  The Schultz and  Allenby plaintiffs
                                          _______      _______

            assert that RIHT failed in that capacity, acting in breach of

            the  terms of the  written escrow arrangement,  in accordance

            with which RIHT agreed to hold the deposits to be tendered by

            investors.   More specifically,  the plaintiffs  contend that

            RIHT  violated the  terms of  the escrow  agreement  when, on

            April 9, 1987, it released all escrowed funds to Laurel, even


                                
            ____________________

            6.  RIHT  broadly   argues,   as  a   basis  for   affirmance
            independent of the  underlying merits of these  actions, that
            the plaintiffs'  claims in  all three cases  are barred  as a
            result of their settlement with, and prejudicial dismissal of
            their  claims against, the  Laurel defendants.   RIHT further
            contends that the  judgment entered by the  district court in
            Schultz, if affirmed, constitutes res judicata in relation to
            _______
            the  plaintiffs' claims in  the Allenby and  Bowdoin actions,
                                            _______      _______
            and  that the  latter two actions  are barred on  a theory of
            non-party  claim preclusion.   See Gonzalez v.  Banco Central
                                           ___ ________     _____________
            Corp., 27 F.3d 751, 755 (1st Cir. 1994); see also Becherer v.
            _____                                    ________ ________
            Merrill Lynch,  Pierce, Fenner &amp;  Smith, Inc., 43  F.3d 1054,
            _____________________________________________
            1069-70 (6th Cir.), cert. denied, 116 S. Ct. 296 (1995).   We
                                _____ ______
            decline  the  invitation  to venture  into  this  complex and
            unsettled area  of the  law, and rest  our affirmance  on the
            merits of the three cases before us.

                                         -14-
                                          14















            though,  allegedly, the  offering's MSL  requirement had  not

            been satisfied.7

                  There  is  a threshold  dispute  as  to the  particular

            escrow  agreement that governs.  Plaintiffs contend that RIHT

            was in breach of the terms of an agreement referred to by the

            parties as the "long-form" escrow.   RIHT replies that it was

            bound only by the terms of the so-called "short-form" escrow,

            but argues, in the alternative, that  even if it was bound by

            the long-form escrow,  the record establishes that  no breach

            occurred.

                  The short-form  escrow  agreement  was attached  as  an

            exhibit  to the registration statement that Laurel filed with

            the SEC in  September 1986,  and had been  signed by RIHT  in

            November 1986.  The short-form provided, in pertinent part:

                  TO  PROSPECTIVE PURCHASERS  OF HOTEL INTERESTS IN
                  SEA CREST CONDOMINIUM

                      Rhode  Island  Hospital Trust  National  Bank
                  (the  "Bank") . . . having  been requested to act

                                
            ____________________

            7.  The  district court in  the Schultz action  reasoned that
                                            _______
            only those investors whose funds were actually deposited into
            the  escrow   account  had   standing  to   challenge  RIHT's
            compliance with the  escrow agreement.  The record shows that
            the two plaintiffs  in the Schultz action  did not pay a  ten
                                       _______
            percent  cash down payment, instead signing a promissory note
            to  Laurel for that  amount.  Most  of the plaintiffs  in the
            Allenby  case, on  the  other  hand, did  pay  a ten  percent
            _______
            deposit,  but a  number of  the units  -- representing  about
            $975,000  in  aggregate sales  --  were sold  without  a cash
            deposit  having  been  tendered.   Furthermore,  some  of the
            Allenby  plaintiffs  purchased  their  units  after  the  MSL
            _______                                       _____
            deadline  had passed.   While  we find  the  district court's
            point to  be forceful,  we need  not rely  on  it, given  our
            disposition of the merits of the issue.

                                         -15-
                                          15















                  as escrow agent ("Escrow Agent")  for deposits to
                  be  made by  prospective purchasers  ("Buyer") of
                  Hotel    Interests   in    the   above-referenced
                  Condominium  from Laurel-Sea  Crest Realty  Sales
                  Corp.  ("Seller") . . .  does hereby  accept such
                  request and agrees to hold  deposits made payable
                  to  the Sea Crest Condominium Escrow Account, and
                  received  by it,  upon  the following  terms  and
                  conditions to which  Buyer and Seller agree to be
                  bound  by  executing  the   Unit  Sale  Agreement
                  ("Agreement")  for  Buyer's  Hotel  Interest,  to
                  which acopy of this escrowletter will be annexed.

                      1.  The Bank agrees to maintain  such deposit
                  (the "Deposit")  at its bank  for the  benefit of
                  Buyer and Seller . . . .

                      2.  In  the event  the [Unit  Sale] Agreement
                  is   consummated,   as   evidenced   by   Buyer's
                  acceptance of  a deed  to the Hotel  Unit, or  by
                  written statement  to that effect  executed by or
                  on  behalf  of Buyer  and  Seller,  Escrow  Agent
                  shall pay over the  Deposit to Seller, and  shall
                  pay  such interest  as may  have accrued thereon,
                  to Buyer. . . .

            The long-form  escrow agreement was  filed with  the SEC  and

            signed  by RIHT at some later time, the precise date being in

            dispute.  The first paragraph of the  long-form agreement was

            the  same  as  that  in  the short-form,  but  the  body  was

            substantially different.   The long-form agreement  provided,

            in relevant part:

                      1.  The  Bank agrees to maintain such deposit
                  (the "Deposit")  at its bank  for the  benefit of
                  Buyer  and Seller  . . . .  The Deposit  shall be
                  held by  the Bank until  the Seller  shall verify
                  to  the Bank  that  (a) $6,000,000  in  aggregate
                  purchase  price  for  Hotel Interests  have  been
                  subscribed  for and  received  as required  under
                  the   Registration   Statement   (the    "Minimum
                  Subscription  Level")  and  thereafter  disbursed
                  . . . or (b) such Minimum  Subscription Level has
                  not  been   achieved  within  120   days  of  the
                  effective  date  of  the  Registration  Statement


                                         -16-
                                          16















                  with the Securities and Exchange  Commission.  In
                  the event the  Minimum Subscription Level  is not
                  achieved   within  such   120  day   period,  all
                  deposits and  interest accrued  thereon shall  be
                  promptly returned to Buyer.

                      2.  In  the  event the  Minimum  Subscription
                  Level is  achieved and the [Unit  Sale] Agreement
                  is   consummated,   as   evidenced   by   Buyer's
                  acceptance of  a deed to  the Hotel  Unit, or  by
                  written statement to that  effect executed by  or
                  on  behalf  of  Buyer  and Seller,  Escrow  Agent
                  shall pay over the  Deposit to Seller, and  shall
                  pay such interest  as may  have accrued  thereon,
                  to Buyer. . . .

            Both  the long- and  short-form escrow agreements  ended with

            the following clauses:

                      8.  Escrow  Agent assumes  no obligations  or
                  responsibility  hereunder  other  than   to  make
                  delivery   of  the   Deposit,  and  any  earnings
                  thereon, as herein provided. . . .

                      It is  understood and agreed  that a  copy of
                  this instrument will  be annexed as an exhibit to
                  the  [Unit  Sale]  Agreement.    Buyer  shall  be
                  entitled  to  rely  upon this  escrow  agreement,
                  with the  same force  and effect  as if the  Bank
                  had contracted directly with Buyer. . . . 

                  The crucial difference between the two  agreements lies

            in the description  of the  conditions that  were to  trigger

            RIHT's duty  to release  any escrowed funds  to Laurel.   The

            long-form  agreement linked RIHT's duty to release funds from

            escrow upon the  meeting of the  MSL requirement; the  short-

            form agreement did not.

                  There  is no  dispute  that RIHT  at some  point signed

            both the short-  and long-form agreements.   The question  is
            ____

            when.   The plaintiffs  argue that RIHT  became bound  by the



                                         -17-
                                          17















            long-form agreement before  the April 1987 MSL  deadline, and

            that  RIHT  therefore  had a  duty  of  "verif[ication]" with

            respect to  the satisfaction  of the  MSL requirement  before

            releasing  the funds  in escrow.   RIHT,  on the  other hand,

            concedes  that  it  signed the  long-form  agreement  at some
                                                                     ____

            point, but not before June 1987.  Thus, RIHT asserts that, as

            of April 1987, it was bound only by the short-form agreement,

            which  makes no  mention  of  the  MSL  requirement.8    Even

            accepting the plaintiffs'  rendition of the record,  however,

            we conclude  that no rational  trier of fact could  find that

            RIHT committed a breach.

                  We  look first to  the express  terms of  the long-form

            escrow agreement.9   Under that agreement, RIHT  was required

            to  "hold deposits made payable to  the Sea Crest Condominium

            Escrow Account,  and received  by it"  until "[Laurel]  shall

            verify to the Bank that (a) $6,000,000  in aggregate purchase

            price  for Hotel  Interests  have  been  subscribed  for  and


                                
            ____________________

            8.  On   the  one  hand,  RIHT  has  provided  an  unrebutted
            attestation that the only escrow agreement on record with the
            SEC as  of April 1987 was  the short-form agreement.   On the
            other hand, there is some evidence (albeit circumstantial) to
            suggest that  RIHT had  agreed to be  bound by  the long-form
            agreement prior to April  1987.  For  example, a copy of  the
            long-form agreement  (lacking RIHT's signature)  was attached
            to a letter from Marchand's  attorney to RIHT dated March 16,
            1987, in which  the attorney  proposed to  RIHT a  particular
            procedure for dealing with interest accruing to the Sea Crest
            escrow account.

            9.  The  parties  appear  to  agree  that  Massachusetts  law
            governs.

                                         -18-
                                          18















            received as  required under  the Registration  Statement (the

            'Minimum   Subscription  Level') . . . ."     This   language

            unambiguously  limits RIHT's obligations  as escrow  agent to

            holding deposits  "received by it"  until Laurel "verifi[ed]"

            that $6 million in subscriptions had been received.

                  The record  before us  permits no genuine  dispute that

            RIHT satisfied its limited duties  under the agreement.   The

            evidence is  clear that RIHT  did not release any  funds that

            had been deposited into the Sea Crest escrow account until it

            had been provided by Laurel  (prior to the MSL deadline) with

            copies of  executed unit  sale agreements  with an  aggregate

            face value in excess of  $6 million.  Plaintiffs concede that

            there is uncontradicted testimony to this effect.

                  Plaintiffs' argument  is that  RIHT was required  to do

            more.  They contend that  RIHT should have refused to release

            funds in  escrow on April  9, 1987  on the grounds  that: (i)

            many of the unit sales counted toward the MSL were not backed

            by ten percent cash  deposits; (ii) Laurel had  pledged seven

            Sea Crest units as collateral for a "bridge" loan that it had

            obtained from Wedgestone Realty Investors Trust, the proceeds

            of which were applied to  Laurel's purchase of the Sea Crest;

            and (iii) the $6  million in unit sales that were  applied to

            the MSL computation had not actually been received  by Laurel

            before the MSL deadline.





                                         -19-
                                          19















                  The  response  is  that  the  escrow  agreement  cannot

            fairly be  read to  say that any  one of  these circumstances

            created a  bar to  the  disbursement of  the escrowed  funds.

            Under   the terms of its escrow agreement, RIHT's role in the

            Sea Crest offering  was a limited one, narrowly  defined in a

            written agreement.   The escrow agreement  did not impose  on

            RIHT  a generalized  duty to  police  the offering.   To  the

            contrary, the agreement disclaimed any duty to the parties in

            escrow "other than to make delivery  of the [escrowed funds],

            and any earnings thereon."

                  Thus, although  the fact that  Laurel sold a  number of

            Sea Crest units without taking a ten percent deposit from the

            purchaser was arguably at odds  with the prospectus, there is

            no  language in the escrow agreement conditioning the release

            of  any escrowed funds  upon RIHT's having  received deposits

            totalling  a  full  ten  percent of  the  six  million dollar

            minimum sales  amount.   Similarly, there  was nothing  about

            Laurel's "bridge"  loan from Wedgestone  that obligated RIHT,

            under the escrow agreement, to determine that the MSL had not

            been met, or that funds  in escrow were otherwise required to

            be returned to investors.

                  Finally, the  plaintiffs' argument  that $6 million  in

            actual funds had not been "received" prior to  RIHT's closing

            of escrow goes nowhere.   To the extent that plaintiffs argue

            that  RIHT itself was  required to  be in  receipt of  the $6



                                         -20-
                                          20















            million,  the argument is  inconsistent with the  language of

            the escrow agreement.   To the extent that  the agreement can

            be read to  require that the $6 million  have been "received"

            at  all, the  agreement plainly  envisions that  it would  be

            Laurel who would receive the funds, and who  would thereafter
            ______

            verify the same to RIHT.

                  In any  event,  RIHT's alleged  failure  to verify  the

            satisfaction of the purported  "receipt" requirement does not

            help  the  plaintiffs'   case.     The  purported   "receipt"

            requirement is necessarily separate and distinct from the MSL

            requirement, and satisfaction of the latter did not depend on

            satisfaction  of  the   former.10    The   only  circumstance

            specified in the escrow agreement as requiring RIHT to return

            escrow deposits  to investors was  the failure to  attain the

            MSL;  Laurel's alleged  non-receipt of  $6  million in  sales

            proceeds did not require investor funds to be refunded or the
                         ___

            offering to be withdrawn.   At most, the logic of plaintiffs'

            theory is that  RIHT released escrowed  funds too early,  and
                                                              _____




                                
            ____________________

            10.  The prospectus  itself states  that "[c]losings [on  the
            individual  unit  sale  agreements]  will  commence once  the
            Minimum  Subscription  Level  has   been  satisfied."    This
            language clearly contemplates that the MSL would be satisfied
            before the actual  consummation of the unit  sale agreements.
            ______
            And  because the proceeds from the  unit sale agreements that
            were counted toward the MSL could not have been "received" by
            Laurel until after  the closings on  those units, it  follows
                         _____
            that the satisfaction of the MSL could not have depended upon
            any such "receipt."

                                         -21-
                                          21















            not  that RIHT wrongfully  failed to call  for termination of
            ___

            the offering.11  

                  The question remains whether  RIHT, in its capacity  as

            escrow agent, owed any duties  to plaintiffs other than those

            spelled out in the agreement.   The Supreme Judicial Court of

            Massachusetts has recently indicated that there is an absence

            of  discussion  in  Massachusetts law  of  whether  an escrow

            agent's duties may extend beyond satisfying the literal terms

            of  the  escrow agreement.    See  In  re Discipline  of  Two
                                          ___  __________________________

            Attorneys,  421 Mass. 619,  626 (1996)  ("Massachusetts cases
            _________

            have  not discussed  whether an  escrow holder  has any  duty

            beyond fulfilling the terms of  the escrow.").12  But we find

            no support for  plaintiffs' broad arguments that  RIHT, which

            is  not alleged to  have been in a  conflict of interest, was

            required, in effect,  to actively root out fraud  of which it

            had no  knowledge and to  police Laurel's conduct in  the Sea





                                
            ____________________

            11.  This is not  a case involving the fabrication  of "sham"
            transactions  designed to create the mere illusion that sales
            had been  generated.  The  apparent absence of  some deposits
            notwithstanding, there has been no suggestion that any of the
            unit sale agreements that were counted toward the MSL in this
            case were anything other than bona fide, binding contracts of
            purchase and sale.

            12.  But cf. Schmid v. National  Bank of Greece, 622 F. Supp.
                 _______ ______    ________________________
            704,   710  (D.  Mass.   1985)  ("The  escrow   agreement  or
            instructions constitute  the full  measure of the  obligation
            assumed by  the escrow  holder and  owing to  the parties."),
            aff'd, 802 F.2d 439 (1st Cir. 1986) (tbl.).
            _____

                                         -22-
                                          22















            Crest offering.13   See  Two Attorneys, 421  Mass. at  626-27
                                ___  _____________

            (citing Maganas v. Northroup, 663 P.2d 565 (Ariz. 1983) (duty
                    _______    _________

            to disclose known fraud); Collins v. Heitman, 284 S.W.2d  628
                        _____         _______    _______

            (Ark. 1955)  (duty not  to engage  in self-dealing);  Kitchen
                                                                  _______

            Krafters, Inc. v. Eastside Bank of Mont., 789 P.2d 567 (Mont.
            ______________    ______________________

            1990) (duty to  disclose material facts relevant  to escrow),

            overruled on other grounds by Busta v.  Columbus Hosp. Corp.,
            _____________________________ _____     ____________________

            916 P.2d 122 (Mont. 1996); American State Bank v. Adkins, 458
                                       ___________________    ______

            N.W.2d  807 (S.D.  1990)  (duty  to  avoid  self-dealing  and

            conflicts of interest)).

                                         IV.

                               Other Common Law Claims
                               _______________________

            A.  Breach of Covenant of Good Faith and Fair Dealing
            __  _________________________________________________

                  The plaintiffs  have not pointed to any record evidence

            that would permit a finding that RIHT's release of the escrow

            funds to Laurel was done other than under a good faith belief

            that the MSL requirement had  been satisfied, and that all of

                                
            ____________________

            13.  Despite plaintiffs' contrary suggestion,  SEC Rule 10b-9
            does not warrant the importation into the escrow agreement of
            a generalized  duty to  ensure that the  offering as  a whole
            complied with  the securities  laws.  Rule  10b-9 makes  it a
            violation of Section 10(b) of  the Securities Exchange Act of
            1934 for any person to  make a representation, in  connection
            with an offering,  that securities are  being offered on  any
            "basis whereby all or part  of the consideration paid for any
            such security  will be  refunded to the  purchaser if  all or
            some of the securities are  not sold," unless the offering is
            structured in a specified way.  17 C.F.R.   240.10b-9.  Here,
            however, there is no support for a finding that the Sea Crest
            offering  did  not comply  with  Rule  10b-9  or,  even  more
            basically,  that RIHT ever  made any "representation" covered
            by the Rule.

                                         -23-
                                          23















            the conditions  for releasing  the funds had  been met.   The

            record supports no  conclusion that RIHT acted  with the sort

            of  dishonest purpose or conscious wrongdoing necessary for a

            finding of bad  faith or unfair dealing.   See Anthony's Pier
                                                       ___ ______________

            Four,  Inc. v.  HBC  Assoc., 411  Mass.  451, 471-72  (1991);
            ___________     ___________

            American Employers'  Ins. Co.  v. Horton,  35 Mass. App.  Ct.
            _____________________________     ______

            921, 923 (1993).  The district court did not err in summarily

            disposing  of the  plaintiffs' claims  for the breach  of the

            covenant of good faith and fair dealing.

            B.  Fraud and Negligent Misrepresentation
            __  _____________________________________

                  Plaintiffs do  not seriously  argue that RIHT  made any

            affirmative  material misrepresentations  to them  concerning

            the Sea Crest  offering.  RIHT did not  sign the registration

            statement,  and  there  is  no  evidence  that  RIHT had  any

            involvement in the preparation  of the registration statement

            or other offering  materials for the Sea Crest  project.  Nor

            did  RIHT participate in Laurel's marketing or sales efforts.

            The only communication between plaintiffs and RIHT appears to

            have been through  the escrow agreement, which  was addressed

            to investors  and was to have been  annexed to each unit sale

            agreement.

                  Absent  allegations  of affirmative  misrepresentations

            or misstatements by  RIHT, the question becomes  whether RIHT

            was guilty  of any  actionable omissions.   Absent a  duty to

            speak,  RIHT's silence could  not have been  fraudulent.  See
                                                                      ___



                                         -24-
                                          24















            Royal Business Group,  Inc. v. Realist, Inc., 933  F.2d 1056,
            ___________________________    _____________

            1064 (1st Cir.  1991).   RIHT's role in  the offering was  to

            hold  funds  deposited  with it  until  Laurel  verified that

            certain conditions had been met.  Even assuming that RIHT, as

            escrow agent, had a duty to  disclose known fraud on the part
                                                  _____

            of Laurel, see, e.g., Maganas, 663 P.2d at 565  (cited in Two
                       ____ ____  _______                    _____ __ ___

            Attorneys,  421  Mass.  at 626-27),  plaintiffs  point  to no
            _________

            evidence that  would show that  RIHT was aware  of fraudulent

            conduct  by  Laurel  or  any  other  party  involved  in  the

            offering.

                  It is true  that RIHT might have had  reason to realize

            that a  number of investors had provided  promissory notes in

            lieu of  ten percent  cash deposits  upon execution  of their

            unit sale agreements.  But there is no reason why RIHT should

            have suspected  that this was  the result of fraud.   Indeed,
                                                         _____

            the plaintiffs do not allege  that the promissory notes  were

            fraudulently made  or  procured; rather,  they were  facially

            valid,  enforceable   instruments.     Furthermore,  Laurel's

            acceptance  of  bona   fide  promissory  notes,   instead  of

            deposits,  was  not  so   obviously  inconsistent  with   the

            prospectus that  RIHT should have concluded that  a fraud was

            being  perpetrated.  Finally,  plaintiffs fail to  argue that

            any  nondisclosure by RIHT on this  issue would have affected

            their decision  to invest; nor  do they explain how  any such

            nondisclosure  could have  been the  cause  of their  losses.



                                         -25-
                                          25















            See, e.g., Damon v. Sun Co., Inc., 87 F.3d 1467, 1471-72 (1st
            ___  ____  _____    _____________

            Cir. 1996) (elements  of fraud include proof  of reliance and

            causation).

            C.  Aiding and Abetting Fraud
            __  _________________________

                  The  plaintiffs'  common   law  claim  of   aiding  and

            abetting fraud  fares no better.   To establish a  common law

            cause of action for aiding  and abetting, plaintiffs must  at

            least demonstrate some measure  of "active participation" and

            the  knowing provision of  substantial assistance by  RIHT to

            the  principal's (here, Laurel's) alleged fraud.  See Spinner
                                                              ___ _______

            v.  Nutt, 417  Mass. 549,  556 (1994).   Plaintiffs  point to
                ____

            nothing   in  the  record  that  would  satisfy  these  basic

            elements.   Indeed, the evidence is to  the contrary.  In his

            testimony in  the Schultz  trial, Marchand  himself expressly
                              _______

            disavowed  the existence of  any sort of  association between

            Laureland RIHT otherthan anarm's lengthbusiness relationship.

                                          V.

                                   RICO Violations 
                                   _______________

                  In order to  prevail on a RICO claim,  a plaintiff must

            prove, inter alia,  that the defendant engaged  in a "pattern
                   __________

            of racketeering activity."  See 18 U.S.C.   1962.  Here, RIHT
                                        ___

            argues  that the district court correctly granted judgment in

            its favor on plaintiffs' RICO claims, because plaintiffs have

            failed  to establish that RIHT's  conduct falls within any of

            the categories  of "racketeering activity"  described in  the



                                         -26-
                                          26















            statute, see 18 U.S.C.   1961(1), and because plaintiffs have
                     ___

            failed  to  adduce  evidence of  the  requisite  "pattern" of

            predicate  acts necessary to  trigger RICO liability,  see 18
                                                                   ___

            U.S.C.   1962(b)-(c).

            A.  Establishment of a Predicate Act
            __  ________________________________

                  Plaintiffs argue  that, on the record, a rational trier

            of  fact could find  that RIHT engaged  in three racketeering

            predicates: (i)  aiding and  abetting securities  fraud; (ii)

            mail fraud; and  (iii) wire fraud.  The  district court found

            that  "aiding and abetting securities fraud" cannot be a RICO

            predicate,  in light  of  the  Supreme  Court's  decision  in

            Central Bank,  511 U.S.  at 164 (1994)  (no private  right of
            ____________

            action for  aiding and  abetting under  Section 10(b)  of the

            Exchange Act),  and that the  record supports  no finding  of

            mail or wire fraud by RIHT.

                  We reserve to another day the issue of  whether Central
                                                                  _______

            Bank necessarily implies that aiding and  abetting securities
            ____

            fraud  cannot be a "racketeering activity" within the meaning

            of    1961(1).    Even  assuming  that  aiding  and  abetting

            securities fraud  can be  a RICO predicate  act, we  find the
                              ___

            record support for such a claim to  be lacking, as we do with

            respect to the  plaintiffs' allegations that RIHT  engaged in

            mail or wire fraud.

                  As  for the  aiding and  abetting allegation,  we agree

            with  the  district  court  that the  record  contains  not a



                                         -27-
                                          27















            scintilla  of  evidence  that  would  support  the  requisite

            finding  that  RIHT  "consciously  shared" in  the  principal

            wrongdoer's  (Laurel's)  specific   intent  to  defraud   the

            plaintiffs.  See United States  v. Loder, 23 F.3d 586, 590-91
                         ___ _____________     _____

            (1st Cir. 1994)  (describing the elements of  criminal aiding

            and abetting).  The lack  of evidence of fraudulent intent on

            the part of RIHT similarly dooms plaintiffs' allegations that

            the bank committed  mail or wire fraud.  There is no basis in

            the record from which a rational trier of fact could conclude

            that  the  mailings  or  wires  by  RIHT  (described  in  the

            plaintiffs'  brief in  only  a fleeting  fashion) constituted

            communications  "in  furtherance" of  a  scheme "intended  to
                                                             ____________

            deceive another, by  means of false or  fraudulent pretenses,
            _______________

            representations,  promises,  or   other  deceptive  conduct."
                                                     __________________

            McEvoy Travel Bureau, Inc. v. Heritage Travel, Inc., 904 F.2d
            __________________________    _____________________

            786, 791 (1st Cir.) (emphases added), cert.  denied, 498 U.S.
                                                  _____________

            992 (1990).

                  We  conclude  that  the  record  contains  insufficient

            evidence  to  raise  a  triable  issue  as  to  whether  RIHT

            committed  any of  the  RICO predicate  acts  alleged by  the

            plaintiffs.











                                         -28-
                                          28















            B.  The "Pattern" Requirement
            __  _________________________

                  The  plaintiffs'  RICO claims  fail for  an additional,

            independent reason.  For the plaintiffs to prevail, they must

            establish  not only that  RIHT engaged in  some "racketeering

            activity,"  but  that   the  bank's  conduct   constituted  a

            "pattern" of  such activity.   See  18 U.S.C.    1962(b)-(c).
                                           ___

            The RICO  statute  by its  terms specifies  that a  "pattern"

            entails  at least  two predicate  racketeering acts.   See 18
                                                                   ___

            U.S.C.    1961(5).   However, while  two  predicate acts  are

            necessary   to  form  a  RICO  "pattern,"  they  may  not  be

            sufficient unless they  are both "related" and  "amount to or

            pose a threat of continued criminal activity."  See H.J. Inc.
                                                            ___ _________

            v. Northwestern Bell  Tel. Co., 492 U.S.  229, 239-40 (1989);
               ___________________________

            Fleet  Credit Corp.  v. Sion,  893  F.2d 441,  444 (1st  Cir.
            ___________________     ____

            1990).    "In   other  words,  a  RICO  pattern  consists  of

            'continuity plus relationship.'"  Sousa v. BP Oil, Inc., 1995
                                              _____    ____________

            WL 842003,  *13 (D.  Mass. 1995) (quoting  H.J., 492  U.S. at
                                                       ____

            239).

                  This  court has  remarked upon  the elusiveness  of any

            helpful,  talismanic definition  of a  RICO  "pattern."   See
                                                                      ___

            Apparel Art  Int'l Inc. v.  Jacobson, 967 F.2d 720,  722 (1st
            _______________________     ________

            Cir.  1992).    But, as  then-Chief  Judge  Breyer explained,

            courts  have consistently  held that  a  "single episode"  of

            criminal  behavior, even  if it  involves  the commission  of

            multiple related acts, does not constitute a  "pattern."  See
                                                                      ___



                                         -29-
                                          29















            id.  at  723.   Instead,  courts  have  tended to  find  RICO
            ___

            "patterns"  only  where the  defendant's conduct  consists of

            "multiple  criminal episodes" extending  over long periods of

            time.  Id. at 724; see also H.J., 492 U.S. at  242 ("Congress
                   ___         ________ ____

            was concerned in RICO with long-term criminal conduct.").

                  Here,  the  alleged instances  of  wrongful  conduct by

            RIHT all  constituted part of  a single "episode."   Like the
                                             ______

            multiple predicate acts that were described in Apparel Art as
                                                           ___________

            "compris[ing] a single effort" to achieve one goal (obtaining

            and keeping a  Defense Department contract), see 967  F.2d at
                                                         ___

            723, the alleged racketeering acts attributed to RIHT in this

            case, "taken  together, . . .  comprise a  single effort"  to

            facilitate a  single financial  endeavor:   the purchase  and

            renovation of the Sea Crest resort.  Id.
                                                 ___

                  If  the  mailings and  wires  RIHT  transmitted in  the

            course  of its involvement  in the  Sea Crest  offering could

            amount  to a  RICO  "pattern,"  then  virtually  every  claim

            asserted  under the  federal securities  laws  could spawn  a

            companion   RICO  cause  of  action,  because  "[i]n  today's

            integrated  interstate economy,  it is  the  rare transaction

            that does not somehow rely on  extensive use of the mails  or

            the telephone."   Roeder v. Alpha Indus., Inc.,  814 F.2d 22,
                              ______    __________________

            31 (1st Cir. 1987) (internal quotation omitted).  We conclude

            that the instances of RIHT's conduct identified by plaintiffs

            as constituting RICO predicate acts did not  form a "pattern"



                                         -30-
                                          30















            of   racketeering  activity   and  are   more  "appropriately

            characterized  as  separate  parts  of a  single  [allegedly]

            criminal episode."  Apparel Art, 967 F.2d at 723.
                                ___________

                                         VI.

                                      Conclusion
                                      __________

                  The three  separate judgments entered  by the  district

            court in these consolidated cases are affirmed.
                                                  ________







































                                         -31-
                                          31









